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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     BRIAN HEADEN,                                       Case No. 22-cv-01145-RMI
                                                        Plaintiff,
                                   8
                                                                                             ORDER OF DISMISSAL
                                                 v.
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                                                                                             Re: Dkt. Nos. 3, 7
                                  10     SAN MATEO COUNTY, et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On February 24, 2022, the court opened the instant case and Headen v. Scott, Case No. 22-

                                  14   cv-1146 EMC. Plaintiff has not filed an in forma pauperis application in the instant case despite

                                  15   the court providing two notices. In Case No. 22-cv-1446 EMC, plaintiff has filed an application to

                                  16   proceed in forma pauperis (dkt. 6) and a letter (dkt. 10) indicating that he did not intend to file two

                                  17   cases. The court construes plaintiff’s letter as a notice of voluntary dismissal under Federal Rule of

                                  18   Civil Procedure 41(a)(1). Plaintiff should present all of his claims in Case No. 22-cv-1446 EMC,

                                  19   where the in forma pauperis application has already been filed. Pursuant to plaintiff’s request, this

                                  20   case is DISMISSED without prejudice, no fee is due. The Clerk of Court shall close the file and

                                  21   terminate all pending motions (dkts. 3, 7) as moot.

                                  22          IT IS SO ORDERED.

                                  23   Dated: May 31, 2022

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                                                                                                     ROBERT M. ILLMAN
                                  26                                                                 United States Magistrate Judge
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